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       Exhibit 1
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AARON RICH                                                  Case No. 1:18-cv-00681-RJL
                                                            Honorable Richard J. Leon
Plaintiff,

V.
EDWARD BUTOWSKY,
MATTHEW COUCH
AMERICA FIRST MEDIA,
Defendants.

     DEFENDANT MATTHEW COUCH’S RULE 26(a) INITIAL DISCLOSURES

        Defendant Matthew Couch submits the following disclosures pursuant to Rule

26(a)(1). These disclosures are based upon information that is now reasonably available to

Mr. Couch. He reserves his right to supplement and/or amend these disclosures pursuant to

Rule 26(e)(1)

        These disclosures do not include the names of any potential experts retained or

consulted by Mr. Couch. He will produce information relating to experts as may be

appropriate under Rule 26(a)(2) and any Scheduling Orders entered by the Court. In addition,

the disclosures do not include documents that may be in the possession of the Plaintiff.

        These disclosures do not constitute a waiver of any work product protection and are

without prejudice to any other issue or argument.

I.      Individuals Likely to Have Discoverable Information:

        Individuals listed below may have discoverable information that Mr. Couch may use

to support his defenses. The description of each person’s likely discoverable information is

not neccessarily limited to the topics described below. Investigation and discovery are
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ongoing. Mr. Couch reserves the right to supplement this list as information becomes

available.

       1.     Edward Butowsky
              c/o Counsel

              Mr. Butowsky has knowledge of certain facts and circumstances alleged in the
              complaint.

       2.     Cassandra Fairbanks
              Address unknown

              Ms. Fairbanks has knowledge about statements made by Julian Assange
              relevant to the leaking of DNC, Clinton campaign and/or John Podesta-related
              emails and attachments (collectively, “DNC emails”).

       3.     Michael Isikoff
              Address unknown

              Mr. Isikoff has knowledge about the podcasts he has produced relating to,
              among other things, Aaron Rich, Matt Couch, the alleged DNC hacking and
              investigations and news reports relating to the foregoing.

       4.     Malia Zimmerman
              c/o Dechert LLP

              Ms. Zimmerman has knowledge about her investigation of and the article she
              wrote about the leaking of the DNC emails to Wikileaks and the FBI’s report
              relating to the leaked DNC emails.

       5.     Joel Rich
              c/o Massey & Gail

              Mr. Rich has knowledge of his communications with Mr. Butowsky, Mr.
              Wheeler and Aaron Rich.

       6.     Mary Rich
              c/o Massey & Gail
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       Ms. Rich has knowledge of her communications with Mr. Butowsky, Mr.
       Wheeler and Aaron Rich.

 7.    Rod Wheeler
       14006 Silver Teal Way
       Upper Marlboro, MD 20744

       Mr. Wheeler has knowledge relating to his communications with Aaron Rich,
       Mr. Butowsky, Mary Rich, Joel Rich and other persons with knowledge of
       matters alleged in the Complaint.

 8.    Kelsey Mulka
       Address unknown
       Ms. Mulka has knowledge about her communications with Aaron Rich relating
       to Seth Rich.

 9.    Dr. Tore Linderman
       Address unknown

       Dr. Landsman has knowledge about communications between Aaron Rich and
       Kelsey Mulka relating to Seth Rich.

 10.   Donna Brazile
       Address unknown

       Ms. Brazile has knowledge about her interactions and communications with
       Aaron Rich and circumstances surrounding the murder of Seth Rich.

 11.   Seymour Hersch
       Address unknown

       Mr. Rich has knowledge of the leaking of the DNC emails to Wikileaks and the
       FBI’s report relating to the leaked DNC emails.

 12.   Ellen Ratner
       Address unknown
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        Ms. Ratner has knowledge of her communications with Julian Assange relating
        to the leak of DNC emails to Wikileaks by one or more DNC insiders or
        affiliated persons.

 13.    Christopher Steele
        Address unknown

        Mr. Steele has knowledge relating to the role of internal DNC operatives in the
        alleged hacking of the DNC and the communication of the DNC emails to
        Wikileaks.

 14.    Aaron Rich
        c/o Boies Schiller Flexner LLP

        Mr. Rich has knowledge of the facts alleged in the complaint.

 15.    Julian Assange
        Belmarsh Prison, UK

        Mr. Assange knows the identity of the individual or individuals who leaked the
        DNC emails to him. Mr. Assange knows the identity of the individual or
        individuals to whom payment was made for the DNC emails.

 16.    Joseph DellaCamera
        Metropolitan Police Department of Washington D.C.
        300 Indiana Avenue, NW Washington, DC 20001

        Mr. DellaCamera has knowledge about the murder of Seth Rich.

  17.   Kevin Doherty
        Nottoway Correctional Center
        Schutt Road Burkeville, VA. 23922

        Mr. Doherty has knowledge of the murder of Seth Rich.

 18.    Pratt Wiley
        Address unknown
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       Mr. Wiley has relevant information relating to Seth Rich and Aaron Rich
       derived from conversation with both prior to Seth Rich’s murder.

 19.   District of Columbia Chief Medical Examiner
       OCME
       Dr. Roger A. Mitchell
       401 E. St. SW
       Washington D.C. 20004

       Mr. Mitchel has knowledge about the autopsy performed on Seth Rich and the
       cause of death.

 20.   Dimitri Alperowitch
       Chief Technology Officer
       Crowdstrike Holdings, Inc.
       150 Mathilda Place, Suite 300
       Sunnyvale, California 9408

       Mr. Alperowitch has knowledge of certain matters alleged in the Complaint.

 21.   Shawn Henry
       President of CrowdStrike Services and Chief Security Officer
       Crowdstrike Holdings, Inc.
       150 Mathilda Place, Suite 300
       Sunnyvale, California 9408

       Mr. Henry has knowledge of certain matters alleged in the Complaint.

 22.   Kim Dotcom
       Address unknown in New Zealand
       kim@kim.com

       Mr. Dotcom has information on the leaking of the DNC emails to Wikileaks.

 23.   Craig Murray
       Address unknown in the United Kingdom

       Mr. Murray has information on the leaking of the DNC emails to Wikileaks.
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        24.     Andrew McCabe
                Address unknown

                Mr. McCabe has information about the alleged hacking of Seth Rich’s gmail
                account by foreign operatives and the FBI’s investigation of Seth Rich’s
                computer.

      In addition to the persons identified above, Mr. Couch also identifies the persons
named in Plaintiff’s Initial Disclosures pursuant to Rule 26(a)(1)(A).

II.     Relevant Documents:

      Mr. Couch has in his possession, custody or control the following categories of
documents that may be used to support his defenses.

        1.      Documents in his own custodial files, to be collected and produced in
                discovery, including e-mails, social media accounts, audio recordings and other
                electronic documents; and

        2.      Documents that have been or will be produced by Plaintiff or third parties in
                discovery.

Mr. Couch reserves the right to supplement these Initial Disclosures and acknowledges that he
will be required to supplement this information based upon further discovery and expert
testimony and reports.

III.    Damages:

        Not applicable.

IV.     Insurance Agreements:

        None.



Dated: August 18, 2019



                                                     Matthew Couch_________Е
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                                     MATTHEW COUCH, pro se
                                     4000 S Dixieland A-201
                                     Rogers, AR 72758
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                             CERTIFICATE OF SERVICE

      I hereby certify that on August 18, 2019, a copy of the foregoing was served by
agreement by electronic mail on the foregoing:

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                                                   Matthew Couch_________Е
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                                                   Rogers, AR 72758
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